Case 1:06-cr-00020-IMK-JSK Document 333 Filed 10/03/06 Page 1 of 4 PageID #: 827



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                   CRIMINAL NO. 1:06CR20-4
                                                 (Judge Keeley)


 ILLES WILLIAM,

                   Defendant.


            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
             BE ACCEPTED AND SCHEDULING SENTENCING HEARING

       On September 19, 2006, defendant, Illes William, appeared

 before United States Magistrate Judge John S. Kaull and moved this

 Court for permission to enter a plea of GUILTY to Count Five of the

 Indictment. The defendant stated that he understood that the

 magistrate    judge   is    not   a   United   States   District   Judge,     and

 consented to pleading before the magistrate judge.             This Court had

 referred the guilty plea to the magistrate judge for the purposes

 of   administering    the    allocution    pursuant     to   Federal   Rule    of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

       Based upon the defendant's statements during the plea hearing

 and the testimony of West Virginia State Trooper Antolock, the

 magistrate judge found that the defendant was competent to enter a

 plea, that the plea was freely and voluntarily given, that the

 defendant was aware of the nature of the charges against him and

 the consequences of his plea, and that a factual basis existed for
Case 1:06-cr-00020-IMK-JSK Document 333 Filed 10/03/06 Page 2 of 4 PageID #: 828



 USA v. ILLES WILLIAM                                                    1:06CR20-4

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
             BE ACCEPTED AND SCHEDULING SENTENCING HEARING

 the tendered plea.       On September 20, 2006, the magistrate judge

 entered   an    order   finding     a    factual   basis    for   the    plea   and

 recommended that this Court accept the plea of guilty to count five

 of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the report and recommendation within ten (10)

 days after service of the report and recommendation. The magistrate

 judge further directed that failure to file objections would result

 in a waiver of the right to appeal from a judgment of this Court

 based on the report and recommendation.

       The parties did not file any objections.               Accordingly, this

 Court finds that the magistrate judge's recommendation should be

 AFFIRMED and ACCEPTS the plea of guilty to count five of the

 Indictment.

       The Court ADJUGES the defendant GUILTY of the crime charged in

 count five.     Pursuant to Fed. R. Crim. P. 11(c)(3)(A) and U.S.S.G.

 §   6B1.1(c),    acceptance    of       the   proposed     plea   agreement     and

 stipulated addendum to the plea agreement, is DEFERRED until the

 Court has received and reviewed the presentence report prepared in

 this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:




                                           2
Case 1:06-cr-00020-IMK-JSK Document 333 Filed 10/03/06 Page 3 of 4 PageID #: 829



 USA v. ILLES WILLIAM                                                          1:06CR20-4

               ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
                 RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
                BE ACCEPTED AND SCHEDULING SENTENCING HEARING

        1.      The       Probation       Office     undertake        a    presentence

 investigation of ILLES WILLIAM and prepare a presentence report for

 the Court;
        2.      The Government and the defendant are to provide their

 versions of the offense to the probation officer by October 19,

 2006;

        3.      The    presentence       report    is    to   be    disclosed     to   the

 defendant, defense counsel, and the United States on or before

 November 20, 2006; however, the Probation Officer is directed not

 to    disclose       the   sentencing      recommendations         made   pursuant     to

 Fed. R. Crim. P. 32(b)(6)(A);

        4.      Counsel shall file WRITTEN OBJECTIONS to the presentence

 report       and   may     file    a   SENTENCING      MEMORANDUM     that    evaluates

 sentencing factors the parties believe to be relevant under 18

 U.S.C. § 3553(a) (including the sentencing range under the advisory

 Guidelines) and explains any proposed sentence, on or before
 December 4, 2006;

         5.     The Office of Probation shall submit to the Court the

 presentence report with addendum on or before December 18, 2006;

 and

         6.     Sentencing is set for January 4, 2007 at 10:30 a.m.

         7.     The    Court       continued   defendant's         unsecured    personal

 recognizance bond in order to ensure his appearance before this

                                               3
Case 1:06-cr-00020-IMK-JSK Document 333 Filed 10/03/06 Page 4 of 4 PageID #: 830



 USA v. ILLES WILLIAM                                             1:06CR20-4

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
             BE ACCEPTED AND SCHEDULING SENTENCING HEARING

 Court at such times and places as the Court may direct with the

 standard conditions of bond.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.
 DATED: October 3, 2006



                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




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